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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND


 Maryland, et al.,

 Plaintiffs,                                       Case No. 1:25-cv-00748-JKB

            v.

 United States Department of Agriculture,

 et al.,

 Defendants.


                            DEFENDANTS’ NOTICE OF APPEAL

           PLEASE TAKE NOTICE that Defendants hereby appeal to the United States Court of

Appeals for the Fourth Circuit from the Court’s Temporary Restraining Order and Opinion issued

on March 13, 2025, ECF Nos. 43 and 44.

                                            Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I certify that on this 14th day of March 2025, I electronically filed the foregoing with the

Clerk of the Court using the CM/ECF System, which will send notice of such filing to all counsel.


                                                   /s/
                                             Beatrice C. Thomas




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